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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

CHARLES JONES, as Personal Representative
of the Estate of Wade Jones, Deceased,
                                                                              Case No: 1:20-cv-36

                                                                      Hon. Judge Hala Y. Jarbou
       Plaintiff,                                                 Magistrate Judge Sally J. Berens
v.

Corizon Health, Inc., et al.

       Defendants.

BUCKFIRE LAW FIRM                                                         CHAPMAN LAW GROUP
Jennifer G. Damico (P51403)                                     Ronald W. Chapman Sr., M.P.A.,
Attorney for Plaintiff                                                            LL.M. (P37603)
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Southfield, MI 48034                         Attorneys for Corizon Health, Inc.; Teri Byrne, R.N.;
(248) 569-4646                                  Dan Card, L.P.N.; Lynne Fielstra, L.P.N.; Melissa
jennifer@buckfirelaw.com                          Furnace, R.N.; Chad Richard Goetterman, R.N.;
                                            James August Mollo, L.P.N.; Joanne Sherwood, N.P.;
                                                                       and Janice Steimel, L.P.N.
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 ORDER DISMISSING DEFENDANTS TERRI BYRNE (ALL CLAIMS) AND JOANNE
          SHERWOOD (MEDICAL MALPRACTICE CLAIM ONLY)

       Pursuant to the parties’ stipulation, and the Court being fully advised in the premises,

       IT IS HEREBY ORDERED that Plaintiffs claims against Defendant Terri Byrne, R.N.

are dismissed with prejudice and without costs to either party.

       IT IS FURTHER ORDERED that Plaintiff’s medical malpractice claims against Defendant

Joanne Sherwood, N.P. are dismissed with prejudice and without costs to either party.



Date: November 9, 2022                                      /s/ Hala Y. Jarbou
                                                         ________________________________
                                                         HALA Y. JARBOU
                                                         Chief United States District Judge
